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                                       5   Attorneys for Defendant
                                           DAVID LEE WHITE
                                       6

                                       7                                 IN THE UNITED STATES DISTRICT COURT

                                       8                            FOR THE EASTERN DISTRICT OF CALIFORNIA

                                       9

                                      10   UNITED STATES OF AMERICA,                              Case No. 2:19-CR-00043-MCE
                                      11                    Plaintiff,
                                                                                                  STIPULATION AND ORDER TO
                                      12            v.                                            CONTINUE STATUS CONFERENCE

                                      13   DAVID LEE WHITE,
B ARTH D ALY LLP
               A TTORNEYS A T L AW
               D AVIS , C ALIFORNIA




                                                                                                  Judge: Honorable Morrison C. England.
                                      14                    Defendant.

                                      15

                                      16                                               STIPULATION

                                      17            1.      By previous order this case was set for status conference on July 9, 2020.

                                      18            2.      By this stipulation, the defendants ask to move the status conference until October

                                      19   15, 2020 and to exclude time between July 9, 2020 and October 15, 2020 under Local Code T4.

                                      20            3.      The parties agree and stipulate, and request that the Court find the following:

                                      21                    (a)      Counsel for defendant desires time to consult with their clients, review the

                                      22   discovery, conduct investigation and otherwise prepare for trial.

                                      23                    (b)      In light of the global pandemic defense counsel’s ability to investigate this

                                      24   case is extremely limited. Witness interviews and other investigation cannot take place. The

                                      25   Eastern District of California has issued numerous emergency orders, consistent with similar

                                      26   orders issued by other district and appellate courts, addressing this situation.

                                      27                    (c)      Counsel for defendants believe failure to grant the above-requested

                                      28   continuance would deny them the reasonable time necessary for effective preparation, taking into
                                           {00030813}
                                                    STIPULATION AND ORDER                                             [Case No. 2:19-CR-00043-MCE]
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                                       1   account the exercise of due diligence.
                                       2                    (d)      The government does not object to the continuance.
                                       3                    (e)      Based on the above-stated findings, the ends of justice served by
                                       4   continuing the case as requested outweigh the interest of the public and the defendants in a trial
                                       5   within the original date prescribed by the Speedy Trial Act.
                                       6                    (e)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
                                       7   § 3161, et seq., within which trial must commence, the time period of July 9, 2020 to October 15,
                                       8   2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code
                                       9   T4] because it results from a continuance granted by the Court at defendants’ request on the basis
                                      10   of the Court’s finding that the ends of justice served by taking such action outweigh the best
                                      11   interest of the public and the defendants in a speedy trial.
                                      12

                                      13   Dated: June 30, 2020.                    Respectfully submitted,
B ARTH D ALY LLP
               A TTORNEYS A T L AW
               D AVIS , C ALIFORNIA




                                      14
                                                                                    By     /s/ Kresta Nora Daly for
                                      15                                                   GRANT RABENN
                                                                                           ASSISTANT UNITED STATES ATTORNEY
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                                      18
                                           Dated: June 30, 2020.                    BARTH DALY LLP
                                      19
                                      20                                            By     /s/ Kresta Nora Daly
                                                                                           KRESTA NORA DALY
                                      21                                                   Attorneys for DAVID LEE WHITE
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                                                    STIPULATION AND ORDER                                            [Case No. 2:19-CR-00043-MCE]
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                                       1                                                 ORDER
                                       2            GOOD CAUSE APPEARING upon the stipulation of the parties it is ordered:
                                       3            The status conference of July 9, 2020 is vacated. The status conference will be reset for
                                       4   October 15, 2020. The Court finds excludable time through October 15, 2020 under Title 18,
                                       5   United States Code Section 3161(h)(7)(B)(iv) and Local Code T4 to allow for preparation of
                                       6   counsel. The Court finds that the interests of justice are best served by granting the request and
                                       7   outweigh the interests of the public and the defendant in a speedy trial. (18 U.S.C.
                                       8   § 3161(h)(7)(A), (h)(7)(B)(iv).)
                                       9            IT IS SO ORDERED.
                                      10   Dated: July 2, 2020
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                                      13
B ARTH D ALY LLP
               A TTORNEYS A T L AW
               D AVIS , C ALIFORNIA




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                                                    STIPULATION AND ORDER                                           [Case No. 2:19-CR-00043-MCE]
